
USCA1 Opinion

	










          June 25, 1996         [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT




                                 ____________________

          No. 95-1947

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                  JOHN GRELLE, JR.,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                       [Hon. Mary M. Lisi, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                Lynch, Circuit Judge,
                                       _____________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                            and Cummings,* Circuit Judge.
                                           _____________

                                _____________________

               Edward J. Romano for appellant.
               ________________
               Margaret E.  Curran, Assistant United States  Attorney, with
               ___________________
          whom Sheldon  Whitehouse, United States Attorney,  and Kenneth P.
               ___________________                               __________
          Madden,  Assistant  United States  Attorney,  were  on brief  for
          ______
          appellee.



                                 ____________________

                              
          ____________________

          *  Of the Seventh Circuit, sitting by designation.











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                    CUMMINGS, Circuit  Judge.   In August 1994  John Grelle
                    CUMMINGS, Circuit  Judge.
                              ______________

          and Robert Joost  were indicted for conspiracy  to commit robbery

          in violation  of the  Hobbs Act,  18 U.S.C.    1951.   The 12-day

          trial  commenced in  March  1995.   The  jury returned  a  guilty

          verdict against  Joost, but was unable  to reach a verdict  as to

          Grelle.   In May 1995 a  new jury was impaneled  to retry Grelle.

          In June,  he pled guilty to  the single count  indictment and was

          sentenced to 46 months in prison plus supervised release of three

          years.  Grelle appeals  three offense characteristic enhancements

          imposed  by  the  district   court  pursuant  to  the  Sentencing

          Guidelines.  We now affirm.

                                          I.

                    The following summary  of the facts  is drawn from  the

          presentence report,  the first  trial record, and  transcripts of

          tapes  of recorded conversations admitted at the trial.  In March

          1994,  Detectives Steven  O'Donnell  and Joseph  DelPrete of  the

          Rhode Island State  Police conducted an undercover  investigation

          of  the manufacture of  counterfeit Foxwoods Casino, Connecticut,

          slot machine tokens by Joost.   The detectives met Joost on March

          23, 1994.   Approximately a  month later, after  several meetings

          with Joost  and various  deliveries of counterfeit  tokens, Joost

          asked  the detectives if they would commit an armored car robbery

          with  him.  The  detectives learned that  the plan was  to rob an

          armored car belonging to Meehan Armored, Inc.  Among other items,

          the  car carried a  gold cargo that it  picked up late afternoons

          from  Leach and  Garner,  an Attleboro,  Massachusetts,  precious


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          metals  manufacturer.   The armored  car and  the gold  were then

          stored overnight at the  Meehan headquarters in Woonsocket, Rhode

          Island.  At 3:00 a.m. two  Meehan guards would load the gold into

          the armored  car at Woonsocket  and drive the  cargo to New  York

          City.    Joost planned  to rob  the armored  car  as it  left the

          Woonsocket  building  while the  guards  were  busy securing  the

          premises. At the meeting, Joost  detailed how he, the detectives,

          and  a fourth person would conduct the robbery; he indicated that

          he needed four guys for the operation and that he already had one

          "guy."

                    The  same three  met again  several times  in May  1994

          during which Joost told the detectives further details  about the

          proposed  robbery.   On May  28 he  introduced them  to defendant

          Grelle.  The four traveled  to Pennsylvania to rob a trailer  and

          warehouse, but a prearranged stop by the police brought an end to

          the  plan.   During  the  trip,  however,  Grelle  told  the  two

          detectives  that he was going  to participate in  the armored car

          robbery along  with them and Joost.   Grelle also  stated that he

          was the manufacturer of the counterfeit Foxwoods Casino tokens.  

                    On  June 16,  Joost  told the  detectives  that he  had

          looked  at the Meehan building  around midnight but  left when he

          saw a  police officer driving up  the access road.   He said that

          five people would  be the right number to  commit the robbery and

          gave  them other details.  On June  27, Joost told the detectives

          that  he and they  would arrive at  the Meehan  building the next

          midnight in order to survey the premises.  Joost said that Grelle


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          would drop them off and pick them up at 4:30 in the morning.  The

          trip was then postponed to the following evening.  The detectives

          met  Joost on  the evening of  June 29  and he  said that  he had

          explained the robbery plans  to Grelle.  At 11:00  p.m. the three

          men  met Grelle in Smithfield,  Rhode Island.   One detective and

          Joost  drove with  Grelle in  his car  while the  other detective

          followed  in his  own car.   During  the drive,  Joost complained

          about Grelle's choice of a car,  and Grelle promised a better car

          for the robbery itself.

                    The two cars met up at a housing complex in Cumberland.

          When  Detective  DelPrete asked  Grelle  how  he knew  about  the

          complex, Grelle responded, "When  you plan, you plan well."   All

          four then proceeded to Woonsocket in Grelle's car.  Joost and the

          two detectives left Grelle in order to survey the Meehan building

          while Grelle  agreed to pick them  up later.  The  details of the

          planned  robbery  were  then  explained  by   Joost  to  the  two

          detectives.  Joost explained how one guard would be handcuffed in

          the  truck and his mouth  taped, and how they  would put a gun to

          the guard's  head and shoot if  necessary.  Since the  guards had

          not appeared as expected  at 4:00 a.m., Joost and  the detectives

          returned to the pickup point where  Grelle met them.  Joost  told

          Grelle that they had missed the armored car.

                    On  July  21, Joost  again  described  the armored  car

          robbery  plan to the detectives and again mentioned putting a gun

          to the head of one of the Meehan guards.   On August 5, Joost and

          Grelle  were arrested by  federal agents and  Rhode Island police


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          detectives and  Grelle's office  was searched by  federal agents,

          who  seized a mold for  counterfeiting U.S. quarters.   They also

          seized from  his car molds  for counterfeit one-  and five-dollar

          Foxwoods  Casino tokens and  two counterfeit  one-dollar Foxwoods

          Casino tokens.    From Grelle's  home  in North  Scituate,  Rhode

          Island,  the agents  seized  15 counterfeit  U.S. quarters,  some

          marijuana plants, a bag of marijuana, and still other counterfeit

          casino tokens.

                    At the  joint trial, the  director of security  for two

          manufacturing   companies   testified   that    those   companies

          manufactured  items   in  gold  and  silver   in  the  Attleboro,

          Massachusetts, area  and shipped the finished  products five days

          weekly  to New York City via the Meehan Woonsocket company, which

          delivered  the products  to various  customers in  New York.   He

          indicated that  the dollar value  of the average  daily shipments

          from  April 1994 to August 1994 ranged from $455,887 to $848,998.

          A Meehan  official testified that other  precious metal shipments

          accompanying that cargo averaged about $5,000,000 daily.

                    Subsequently  Grelle prepared a statement for inclusion

          in  the  presentence  report  in support  of  an  adjustment  for

          acceptance  of responsibility.    He admitted  that  he had  been

          involved in  the robbery and counterfeit  tokens conspiracies and

          added "I knowingly involved myself, and in doing that I committed

          a crime."   In return  for Grelle's guilty  plea, the  government

          agreed to recommend the lowest term  in the applicable Guidelines

          range  and that it run  concurrently to any  other sentence.  The


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          government  agreed  that  Grelle   did  not  participate  in  the

          conversations between Joost  and the detectives in  which (1) the

          amount  of  gold,  (2) the  use  of  firearms,  (3) the  possible

          shooting or killing of the Meehan guards, or (4) the restraint of

          those   guards  were   discussed.     However,   the   government

          specifically reserved  its right to argue that these details were

          reasonably foreseeable to Grelle.

                    In  the   plea  agreement  the  government   agreed  to

          recommend that Grelle receive a two-level decrease for acceptance

          of responsibility  provided that (1) he admit  his involvement in

          the  criminal conduct,  (2) he  otherwise complied  with all  the

          requirements of U.S.S.G.    3E1.1, and (3) he  did not receive an

          enhancement for obstruction  pursuant to U.S.S.G.    3C1.1.   The

          government also agreed to recommend that he receive a three-level

          decrease  under U.S.S.G.    2X1.1(b)(2)  because the  substantive

          crime was  not close to  commission and  that he receive  a four-

          level decrease for a minimal role under U.S.S.G.   3B1.2(a).

                    The district court determined the base offense level to

          be 20.   It then imposed a 6-level increase for intended use of a

          firearm, a 2-level  increase for intended restraint  of a victim,

          and  a 3-level increase for an intended loss between $250,000 and

          $800,000.   The court then  subtracted 3 levels for insubstantial

          completion of the substantive defense, 4 levels for minimal role,

          and 2 levels for acceptance of responsibility.  The total offense

          level  was  22  with  a sentencing  range  of  41  to  51 months'




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          imprisonment.    The court  imposed a  sentence  of 46  months in

          prison and 3 years of supervised release.

                                         II.

                    Grelle claims that the three sentence enhancements were

          erroneous  on the ground that the evidence was inadequate to show

          that he  had knowledge of  the intended conduct or  the amount of

          the intended loss.  However, we  conclude that the circumstantial

          evidence  is  more than  adequate to  establish  that the  use of

          firearms, the  restraint of armored  car guards and  the intended

          loss  of a  gold cargo  were not  only reasonably  foreseeable to

          defendant  but that he knew  the plan involved  those factors and

          that his agreement to participate covered such conduct.

                    As  noted, defendant  pled  guilty to  a conspiracy  to

          commit  robbery.    The  guideline  applicable  to  conspiracies,

          U.S.S.G.   2X1.1, tells the  trial court to use the  base offense

          level for  the substantive offense plus  appropriate adjustments.

          Here  the  substantive  offense  was  robbery,  and  the  robbery

          guideline  sets  the base  offense level  at  20 and  includes as

          specific offense characteristics the use of a firearm, U.S.S.G.  

          2B3.1(b)(2)(B);  physical  restraint of  a  person to  facilitate

          commission of  the offense or escape,  U.S.S.G.   2B3.1(b)(4)(B);

          and the amount of  loss, U.S.S.G.   2B3.1(b)(6).   In determining

          the applicability of these  specific offense characteristics, the

          Guidelines direct  the court to consider not only the defendant's

          actual conduct and the  conduct he agreed to undertake,  but also

          "all  reasonably  foreseeable acts  and  omissions  of others  in


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          furtherance  of the  jointly undertaken criminal  activity .  . .

          that occurred during the commission of the offense of conviction,

          in preparation for that  offense, or in the course  of attempting

          to avoid detection or responsibility for that offense."  U.S.S.G.

             1B1.3(a)(1)(B).  The  Commentary explains that  a defendant is

          accountable  for the  conduct  of others  in  furtherance of  the

          jointly undertaken criminal  activity and reasonably  foreseeable

          in connection with that criminal activity.  See U.S.S.G.   1B1.3,
                                                      ___

          comment.

                    The  Commentary  states   that  the  relevant   conduct

          determination for a particular defendant  depends on the scope of

          the  activity he agreed to  undertake jointly.   To determine the

          scope of  a defendant's  agreement, "the  court may consider  any

          explicit agreement or implicit agreement fairly inferred from the

          conduct  of the  defendant  and others."    Id.   The  Commentary
                                                      ___

          admonishes that "the criminal  activity that the defendant agreed

          to jointly  undertake, and the reasonably  foreseeable conduct of

          others  in  furtherance  of   that  criminal  activity,  are  not

          necessarily identical."  Id.   For example, the note  describes a
                                   ___

          defendant  who  agrees  with  another to  commit  a  robbery  and

          explains that  even though the  defendant did not  contemplate an

          assault,  he would be accountable  for an accomplice's assault of

          the victim in the  course of the robbery "because  the assaultive

          conduct  was in  furtherance of  the jointly  undertaken criminal

          activity   (the  robbery)  and   was  reasonably  foreseeable  in




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          connection with  that criminal activity (given the  nature of the

          offense)."  Id.
                      ___

                    The Guidelines thus contemplate that  a defendant would

          be  accountable  for sentencing  purposes  for  his own  intended

          conduct within the scope of the conspiracy,  but also accountable

          for  the  intended  scope  of  his  co-conspirator  that  was  in

          furtherance of  the conspiracy and was  reasonably foreseeable to

          the defendant.  The  reasonable certainty requirement of U.S.S.G.

              2X1.1(a)   contemplates    that   in   considering   specific

          enhancements,  the  sentencing  court  will consider  "what  with

          reasonable certainty  can be  determined to be  the conspirator's

          intent."  United States  v. Madeiros, 897  F.2d 13, 19 (1st  Cir.
                    _____________     ________

          1990).    Finally,  the  conspiracy guideline  considers  that  a

          defendant may be held accountable for acts that have not yet been

          performed.  See  United States  v. Chapdelaine, 989  F.2d 28,  35
                           _____________     ___________

          (1st Cir. 1993), cert. denied, __ U.S. __, 114 S. Ct. 696 (1994).
                           ____________

                    We   now  proceed   to  Grelle's   specific  objections

          regarding the  three enhancements imposed by  the district court.

          A court's  factual determinations  supporting a sentence  must be

          proved  by the government by a preponderance of the evidence, and

          this  Court reviews such findings  only for clear  error.  United
                                                                     ______

          States v. Legarda, 17 F.3d 496, 499 (1st Cir. 1994).
          ______    _______

                                          A.

                    The conspiracy and robbery  guidelines provide for a 6-

          level  enhancement  for  intended use  of  a  firearm.   U.S.S.G.

            2B3.1(b)(2)(B).   District Judge  Lisi presided over  the first


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          trial and was therefore familiar with the details of the case, so

          that  her rulings  are entitled  to great  deference.   18 U.S.C.

            3742(e).    She  found  here  that  the  use  of  firearms  was

          foreseeable to this defendant because Grelle acknowledged that he

          had knowingly  become involved  in an "armed  robbery conspiracy"

          and admitted  that Joost, his co-defendant in the original trial,

          told him  about the robbery and  had taken Grelle  to the robbery

          site on  the previous day.   Indeed,  as early as  May 28,  1994,

          defendant had become a  co-conspirator by planning to participate

          in the armored car robbery with Joost and the detectives.

                    Grelle was present during many of Joost's conversations

          with the detectives,  though it  is not established  that he  was

          present  when  Joost  specifically  mentioned  firearms.    Joost

          nevertheless  mentioned  to the  detectives  that  guns would  be

          needed to subdue the guards and that it might be necessary to put

          guns to their  heads and shoot  them.  Under  the plans known  to

          Grelle,  he would certainly  realize that the  armored car guards

          would be  carrying firearms and would have to be subdued in order

          to steal the  gold, thus requiring firearm use.   Joost's plan to

          use firearms was reasonably foreseeable  to Grelle and was proved

          by  a  preponderance  of  the  evidence,  so  that   the  6-level

          enhancement was properly assessed.

                                          B.

                    Under the robbery  guideline, a 2-level enhancement  is

          to  be  imposed  if  "any  person was  physically  restrained  to

          facilitate commission  of the  offense or to  facilitate escape."


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          U.S.S.G.    2B3.1(b)(4)(B).    Under  the  conspiracy  guideline,

          defendant was subject to such  enhancement since the record shows

          that he knew or could reasonably foresee that  one of the robbers

          intended  to restrain  another person  in the  commission  of the

          robbery  or the escape afterwards.  Here the district court found

          that Grelle's participation  in the conspiracy  contemplated that

          the robbery would take  place at the Meehan facility  when guards

          would be present.  As a result, the court properly concluded that

          it  was reasonably certain that  Grelle knew that  a person would

          have  to  be restrained  in  order to  successfully  conclude the

          robbery.   In addition, Joost  had discussed detailed  plans with

          the  detectives involving the restraint of a Meehan guard.  Based

          on  Joost's willingness to discuss the plan's details with two of

          the  participants,  the  district  court  found  that  he  likely

          discussed  the same  plans  with Grelle.    The district  court's

          finding that Grelle knew  or could reasonably have  foreseen that

          the  plan involved  the restraint  of others  was supported  by a

          preponderance of the evidence and was not clearly erroneous.

                                          C.

                    Finally,   the   3-level  enhancement   under  U.S.S.G.

            2B3.1(b)(6)(D) was for an intended loss of between $250,000 and

          $800,000.    Grelle was  not  held  accountable  for  the  entire

          $5,000,000 value of the cargo -- the value testified to at  trial

          -- because the district  judge found that he  was not aware  that

          the armored car  contained precious  cargo other  than the  gold.

          Rather, the district  court based its determination on  the trial


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          testimony which showed that from April through August 1994, about

          a month before the intended  robbery, the armored vehicle carried

          between $455,887 and $848,998 worth of gold on each run.

                    Grelle attacks the determination  on the basis that the

          figures  were  not  certain.    However,  the Commentary  to  the

          guideline  states that  the  "loss need  not  be determined  with

          precision.  The court need only make a reasonable estimate of the

          loss,  given  the  available  information."   U.S.S.G.     2B1.1,

          comment.  It is clear that Grelle intended to participate  in the

          armored car robbery  and that both Grelle and Joost knew or could

          reasonably foresee that  the vehicle contained a  large amount of

          money.  At  one point, Joost told the  detectives that he thought

          the car could contain  as much as several million dollars.  Based

          on  this  information, the  district  court  acted reasonably  in

          imposing  a 3-level increase for the intended loss.  The decision

          was not clearly erroneous.

                                         III.

                    For the foregoing reasons,  the sentence imposed by the

          district court is AFFIRMED.
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